            Case 4:02-cr-40078-JPG                    Document 1008 Filed 08/04/10                     Page 1 of 4            Page ID
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                #1370

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                                     UNITED STATES DISTRICT COURT                                                                     ~~
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        UNITED STATES OF AMERICA                                        Judgment in a Criminal Case               (jf:tV~/&~&.,.~!.            f)
                             v.                                         (For Revocation of Probation or Supervised Rel~t°'"
                                                                                                                              '/:"~
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                                                                                                                                        '/:"    01.;
            CHRISTOPHER CAMPBELL                                                                                                     l0f: 1((       'Ir.,.
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                                                                        Case No. 4:02CR40078-20-JPG
                                                                        USM No. 05885-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                 of the term of supervision.
o   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                              Violation Ended
Statutory                         The defendant committed offense of Aggravated Battery                       06/10/2010



Standard # 7                      The defendant consumed alcohol to excess                                    06/10/2010



       The defendant is sentenced as provided in pages 2 through _ _4..:...-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6200                     07/29/2010

Defendant's Year of Birth:          1971

City and State of Defendant's Residence:                                                           Signature of Judge
West Frankfort, IL
                                                                           J. Phil Gilbert                              District Judge
          Case 4:02-cr-40078-JPG                     Document 1008 Filed 08/04/10      Page 2 of 4      Page ID
AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet lA
                                                               #1371
                                                                                      Judgment-Page _~2=--_    of    4
DEFENDANT: CHRISTOPHER CAMPBELL
CASE NUMBER: 4:02CR40078-20-JPG

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Special                       Defendant consumed alcohol while entrolled in substance abuse treatment         06/10/2010
               Case 4:02-cr-40078-JPG                     Document 1008 Filed 08/04/10                 Page 3 of 4          Page ID
 AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                    #1372
                                                                                                    Judgment - Page   _.;;;;.3_ of    4
 DEFENDANT: CHRISTOPHER CAMPBELL
 CASE NUMBER: 4:02CR40078-20-JPG


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
Time Served




       D The court makes the following recommendations to the Bureau of Prisons:




       D The defendant is remanded to the custody of the United States Marshal.

       D   The defendant shall surrender to the United States Marshal for this district:
           D    at    _________ D                         a.m.      D     p.m.    on
           D    as notified by the United States Marshal.

       D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before 2 p.m. on
           D    as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                        to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL

                                                                                 By ________________________________________
                                                                                              DEPUTY UNITED STATES MARSHAL
           Case 4:02-cr-40078-JPG                     Document 1008 Filed 08/04/10        Page 4 of 4        Page ID
 AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release
                                                                #1373
                                                                                         Judgment-Page   4     of      4
 DEFENDANT: CHRISTOPHER CAMPBELL
 CASE NUMBER: 4:02CR40078-20-JPG

                                           SPECIAL CONDITIONS OF SUPERVISION

X The defendant shall spend the first six months in a half-way house as directed by probation.

X The defendant shall spend the last six months on electronic monitoring as directed by probation.

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer
in treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X The defendant shall participate in mental health treatment as directed by probation.

X The defendant shall NOT consume ANY alcohol while on supervised release.
